Case 19-15597-amc          Doc 14   Filed 11/05/19 Entered 11/06/19 15:10:56           Desc Main
                                    Document     Page 1 of 2



                         UNITED STATES BANKRUTPCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:
                                                      Chapter 13
          Barry Jay Esterman
                                                      Bankruptcy N0. 19—15597AMC
                 Debtor.



                                            ORDER

          AND NOW, this 5th day of November, 2019, the Debtor having ﬁled the above

bankruptcy case on September 9, 2019,

          AND, the Debtor having ﬁled three (3) prior bankruptcy cases before the present case:

          Including case number 04-13899, a Chapter 7 case ﬁled in the Eastern District of

Pennsylvania Bankruptcy Court on March 19, 2004 and discharged on April 29, 2005 ,

          Including case number 16—15487, a Chapter 7 case ﬁled in the Eastern District of

Pennsylvania Bankruptcy Conn on August 1, 2016 and dismissed on August 24, 2016 for failure

t0 ﬁle information,

          Including case number 19—11969, a Chapter 13 case ﬁled in the Eastern District of

Pennsylvania Bankruptcy Court on March 29, 2019 and dismissed on April 30, 2019 for failure

to obtain pre~petition credit counseling,

          AND, the docket reﬂecting that the Debtor has failed to ﬁle the below listed documents:

                 Certiﬁcation Concerning Credit Counseling
                 Matrix List of Creditors
                 Chapter 13 Plan                  0


                 Chapter 13 Statement of Your Current Monthly Income Form 12201
                 Means Test Calculation Form 122C—2
                 Schedules AB—J
                 Statement of Financial Affairs
                 Summary of Assets and Liabilities Form B106
Case 19-15597-amc        Doc 14    Filed 11/05/19 Entered 11/06/19 15:10:56             Desc Main
                                   Document     Page 2 of 2



       AND, the debtor having failed to appear at the Show Cause hearing scheduled for

November 5, 2019,

       The Court ﬁnds that the debtor has ﬁled this case in bad faith. The debtor’s current

bankruptcy case is hereby DISMISSED. Accordingly, it is ORDERED that the Debtor is

barred from ﬁling future bankruptcy cases for a period of 365 days, either individually or jointly,

without ﬁrst seeking court approval. _S_e§, gg, In re Casse, 198 F. 3d 327 (2d Cir. 1999).

       It is also ORDERED, that should the debtor wish to ﬁle a new bankruptcy case, he

should ﬁle a motion with this Court requesting permission to ﬁle a new bankruptcy case using

the caption of the present case, Bankr. 19—15597, and shall serve such motion upon all of his

creditors and the United States Trustee.

       Consistent with the Bar Order and until directed otherwise, the Clerk of the Court is

DIRECTED TO REFRAIN from accepting any bankruptcy petition ﬁled by the Debtor(s) or

on behalf of the Debtor(s).




                                              United States Bankruptcy Judge
